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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF KENTUCKY
                           NORTHERN DIVISION
                              AT COVINGTON

 NICHOLAS SANDMANN, by and                   :    CASE NO.
 through his parents and natural             :
 guardians, TED SANDMANN and                 :    JUDGE
 JULIE SANDMANN,                             :
                                             :    PLAINTIFF’S COMPLAINT WITH
              Plaintiffs,                    :    JURY DEMAND
                                             :
 v.                                          :
                                             :
 CABLE NEWS NETWORK, INC.,                   :
                                             :
              Defendant.                     :
                                             :
                                             :


      NOW COMES Nicholas Sandmann (“Nicholas”), by and through his parents and

natural guardians, Ted Sandmann and Julie Sandmann, and by and through counsel, and

states his Complaint for Defamation against Cable News Network, Inc. (“CNN”) as

follows:

                                  INTRODUCTION

      1.     In 1980, Ted Turner defied skeptics and successfully founded CNN, the first

24-hour cable and satellite news channel.

      2.     For several years thereafter, CNN branded itself worldwide as “the most

trusted name in news.”

      3.     CNN is now owned by Turner Broadcasting System, Inc., an American

media conglomerate that is a division of Warner Media, LLC.

      4.     Warner Media, LLC is an American multinational mass media and

entertainment conglomerate owned by AT&T, Inc. and headquartered in New York City.


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      5.     AT&T, Inc. is an American multinational conglomerate holding company

headquartered in Dallas, Texas.

      6.     According to its 2018 Form 10-K filing and Annual Report, AT&T, Inc.’s

2018 operating revenue was $170.756 Billion and its net income was $19.953 Billion.

      7.     According to Time Warner Inc. n/k/a Warner Media, LLC’s 2017 Form 10-

K filing, CNN reached 91.4 million domestic households and more than 350 million

households outside of the United States as of December 31, 2017.

      8.     In 2017, suffering from a public perception that it had deteriorated from

being recognized as a source of hard news to being considered a mere echo chamber for

manipulated and politicized commentary and “fake news,” CNN launched a new branding

campaign, “Facts First,” which is pinned to the top of its Twitter social media page.

      9.     From at least as early as the November 2016 election of Donald J. Trump as

the 45th President of the United States, CNN has maintained a well-known and easily

documented biased agenda against President Trump and established a history of

impugning individuals perceived to be supporters of the President.

      10.    Prior to January 2018, President Trump publicly and repeatedly branded

CNN as the poster child of “fake news.”

      11.    Between January 19 and January 25, 2019, CNN brought down the full force

of its corporate power, influence, and wealth on Nicholas by falsely attacking, vilifying,

and bullying him despite the fact that he was a minor child.

      12.    Contrary to its “Facts First” public relations ploy, CNN ignored the facts and

put its anti-Trump agenda first in waging a 7-day media campaign of false, vicious attacks

against Nicholas, a young boy who was guilty of little more than wearing a souvenir Make



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America Great Again cap while on a high school field trip to the National Mall in

Washington, D.C. to attend the January 18 March for Life.

       13.    CNN’s vicious attack on Nicholas included at least four (4) defamatory

television broadcasts and nine (9) defamatory online articles falsely accusing Nicholas

and his Covington Catholic High School (“CovCath”) classmates of, among other things,

engaging in racist conduct by instigating a threatening confrontation with several African

American men (“the Black Hebrew Israelites”) and subsequently instigating a threatening

confrontation with Native Americans who were in the midst of prayer following the

Indigenous Peoples March at the National Mall.

       14.    More specifically, CNN falsely asserted that Nicholas and his CovCath

classmates were in a “racis[t]” “mob mentality” and “looked like they were going to lynch”

the Black Hebrew Israelites who were merely “preaching about the Bible nearby” “because

they didn’t like the color of their skin” and “their religious views,” and that Nicholas and

his classmates then “surrounded” one of the Native Americans, 64-year old Nathan

Phillips, creating “a really dangerous situation” during which Nicholas “blocked [Phillips’]

escape” when Phillips tried “to leave” the mob, causing Phillips to “fear for his safety and

the safety of those with him,” while Nicholas and his classmates “harassed and taunted”

him.

       15.    In short, the false and defamatory gist of CNN’s collective reporting

conveyed to its viewers and readers that Nicholas was the face of an unruly hate mob of

hundreds of white racist high school students who physically assaulted, harassed, and

taunted two different minority groups engaged in peaceful demonstrations, preaching,

song, and prayer.



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        16.   The CNN accusations are totally and unequivocally false and CNN would

have known them to be untrue had it undertaken any reasonable efforts to verify their

accuracy before publication of its false and defamatory accusations.

        17.   In fact, it was Nicholas and his CovCath classmates who were bullied,

attacked, and confronted with racist and homophobic slurs and threats of violence by the

Black Hebrew Israelites, a recognized hate group, before being unexpectedly and

unexplainedly confronted by Phillip, an activist, who proceeded to target Nicholas while

chanting and beating a drum inches from his face and being flanked by activist

companions filming the event (“the January 18 incident”).

        18.   During the January 18 incident, Phillips, a stranger to Nicholas, approached

from afar and intentionally confronted the CovCath student before specifically targeting

Nicholas for a confrontation, placing himself directly in front of Nicholas.

        19.   At the time of the confrontation by Phillips, Nicholas and the CovCath

students were assembled at the steps of the Lincoln Memorial waiting to meet the buses

for their return trip home to Northern Kentucky.

        20.   Nicholas never moved when Phillips approached him, standing quietly and

respectfully for several minutes while Phillips continued to bang his drum and sing in his

face.

        21.   Nicholas merely acquiesced in Phillips’ chosen course of conduct.

        22.   Following the January 18 incident, Phillips became a “mainstream media

darling,” engaging in a publicity tour during which he manufactured out of whole cloth

varying and conflicting descriptions of the events prior to, during, and after the January

18 incident in a superficial attempt to garner public sympathy and advance his own

political agenda.

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       23.    In certain of his interviews, Phillips had tears in his eyes as he lied and said

that Nicholas and the CovCath students were shouting, “Build that wall, build that wall.”

       24.    CNN was one of several media outlets that ignored Phillips’ obvious bias

and provided Phillips a worldwide platform to spread his lies without any effort

whatsoever to verify the accuracy of the inflammatory accusations Phillips was making

against children.

       25.    With respect to the January 18 incident, CNN was more than an echo

chamber for partisan political views – CNN was a worldwide megaphone for an

unmoderated and uninformed social media mob which had begun viciously attacking and

physically threatening Nicholas in the hours preceding CNN’s initial reporting.

       26.    CNN rushed to take advantage of the viral social media mob to further its

anti-Trump agenda and increase the billion-dollar bottom lines of its conglomerate

corporate owners by generating eyeballs, clicks, and resulting advertising revenue from

its sensationalized broadcasts and online reporting.

       27.    According to media reports, CNN’s average primetime viewership in

January 2019 was its second highest in the network’s history.

       28.    CNN elevated false, heinous accusations of racist conduct against Nicholas

from social media to its worldwide news platform without adhering to well-established

journalistic standards and ethics, including its failure to take the required steps to ensure

accuracy, fairness, completeness, fact-checking, neutrality, and heightened sensitivity

when dealing with a minor.

       29.    Exposing the shallowness of its “Facts First” public relations branding ploy,

CNN got the “Facts Last” as it repeatedly, recklessly, and willfully violated basic,

fundamental standards of journalistic integrity.

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       30.    CNN’s agenda-driven fiction about Nicholas and the January 18 incident

was not only false and defamatory, it created an extremely dangerous situation by

knowingly triggering the outrage of its audience and unleashing that outrage on Nicholas

and his CovCath classmates with its patently false accusations that Nicholas and the other

students engaged in acts of racism and bigotry.

       31.    CNN political analyst Bakari Sellers openly called for physical violence on

Twitter, fueling that outrage of a social media mob of bullies.

       32.    In an obvious reference to Nicholas, Sellers tweeted at 7:09 a.m. on January

19: “He is a deplorable. Some ppl can also be punched in the face.”

       33.    Rather than publicly rebuke Sellers, CNN endorsed Sellers’ misconduct

within a few short hours by commencing its 7-day agenda-driven campaign to assassinate

Nicholas’ character and reputation with inflammatory accusations of racist misconduct.

       34.    Nicholas was an easy target for CNN to advance its anti-Trump agenda

because he was a 16-year old white, Catholic student who was wearing a MAGA cap

purchased earlier in the day as a souvenir.

       35.    In addition to its substantial broadcast television and online audience, CNN

republished many of its false and defamatory broadcasts and articles to its over 41 million

Twitter followers.

       36.    In order to fully compensate Nicholas for the reputational harm, emotional

distress, and mental anguish caused by CNN’s false attacks, this action seeks

compensatory damages in excess of Seventy-Five Million Dollars ($75,000,000.00).

       37.    In order to punish and to deter CNN from ever again engaging in false,

reckless, malicious, and agenda-driven attacks against children in violation of well-



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recognized journalistic standards and ethics, this action seeks punitive damages in excess

of Two Hundred Million Dollars ($200,000,000.00).

                       DETAILED FACTUAL BACKGROUND

                            THE JANUARY 18 INCIDENT

       38.    On January 18, 2019, Nicholas attended the March for Life on a school trip

chaperoned by sixteen (16) adults, nine (9) of whom were faculty members at CovCath.

       39.    Nicholas and his classmates were instructed to meet at the steps of the

Lincoln Memorial at the National Mall by 5:00 p.m. to catch their buses for the return

trip to Kentucky.

       40.    Nicholas was wearing a red MAGA cap that he had purchased that day as a

souvenir.

       41.    While at the National Mall, a small group of adult men who describe

themselves as Black Hebrew Israelites – a recognized hate group – began verbally

assaulting and taunting Nicholas and his CovCath classmates with threats of physical

violence and vitriolic statements, calling the students “incest babies,” “dirty ass crackers,”

and “future school shooters.”

       42.    One of Nicholas’ classmates requested and received permission from a

school chaperone to engage in CovCath school sports cheers in an effort to ignore and

drown out the hate speech being hurled at them by the Black Hebrew Israelites.

       43.    During a school cheer, Phillips and his activist companions – all of whom

had been participating in the Indigenous Peoples March at the National Mall that day –

instigated a confrontation with Nicholas and his CovCath classmates.

       44.    Rather than focusing their attention on the Black Hebrew Israelites, who

had been relentlessly insulting both the teenagers for almost an hour and the Native

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Americans attending the Indigenous Peoples March before that, Phillips and his activist

companions deliberately targeted the CovCath students from a distance while beating

drums, singing, dancing, and carrying cameras to hopefully capture a viral video moment

of the confrontation.

       45.    When Phillips first approached them, many of the CovCath students “felt

like he was coming into their group to join in with the students’ cheers.”

       46.    Phillips intentionally walked up to the crowd of CovCath students.

       47.    Immediately behind and around Phillips were several of his own

companions and Nicholas and the CovCath students did not move toward Phillips or

otherwise actively approach or surround him.

       48.    Nicholas and the students acquiesced in Phillips’ election to confront their

group and beat his drum within inches of Nicholas’ face.

       49.    Once within their group, Phillips freely moved about, briefly walking up to

certain students within the group, which included many children who were not CovCath

students.

       50.    Phillips then walked directly to where Nicholas was standing on the steps

so that he could confront Nicholas and get within inches of his face.

       51.    Phillips was attired in Native American garb and was a complete stranger to

Nicholas.

       52.    While staring and glaring at Nicholas, Phillips continued to beat his drum

and sing loudly within inches of Nicholas’ face for several minutes.

       53.    Contrary to Phillips’ lies republished by CNN in his post-January 18 media

interviews that he was trying to move to the top of the steps of the Lincoln Memorial,



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Phillips approached the students from a distance and walked past clear pathways leading

to the Lincoln Memorial.

       54.    When Phillips made his incursion into the crowd of students and directly

confronted Nicholas, Phillips never made any attempt to move past, around, or away from

Nicholas even though he could have done so at any time.

       55.    Prior to being directly confronted by Phillips, Nicholas had not noticed

Phillips at the National Mall.

       56.    Nicholas was startled and confused by the actions of Phillips in singling him

out and confronting him.

       57.    During the confrontation instigated by Phillips, Nicholas stood still as he

was concerned that turning away from Phillips might be considered a sign of disrespect.

       58.    While he stood there with Phillips beating a drum near his face and singing

loudly, Nicholas remained silent and did not utter a single word to Phillips.

       59.    Nicholas did not make any gestures by hand or otherwise toward Phillips.

       60.    Nicholas made only one gesture while being confronted by Phillips – he

quietly signaled a classmate to refrain from responding to profanity-laced insults being

directed at the student by one of Phillips’ companions.

       61.    At all times, Nicholas acted respectfully, responsibly, appropriately, and in

a manner consistent with the values instilled upon him by his family and his faith.

       62.    The confrontation ended when Nicholas and his fellow CovCath students

were instructed to board the buses to return home.

       63.    Indeed, when Nicholas walked away quietly to board the bus, Phillips

turned away from the Lincoln Memorial and outwardly celebrated his perceived “win”



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over Nicholas and his CovCath classmates, with his companion shouting “I got him, man,

I got him! … We won grandpa, we fucking won grandpa!”

       64.      During the entirety of the January 18 incident, Nicholas:

                (a)        did not instigate a confrontation of any kind;

                (b)        did not surround Phillips or the Black Hebrew Israelites;

                (c)        did not target, confront, or assault Phillips or the Black Hebrew

             Israelites;

                (d)        did not move from where he was standing when Phillips approached

             him;

                (e)        did not block Phillips’ path or egress;

                (f)        did not taunt, mock, or harass Phillips or anyone else present;

                (g)        did not utter a single word toward Phillips;

                (h)        did not engage in chanting, jeering, or clapping with or at Phillips;

                (i)        did not taunt or hurl any political chant or racial slur at anyone,

             including Phillips, any other Native American, or the Black Hebrew Israelites;

             and

                (j)        did not engage in any conduct whatsoever that could even remotely

             be described or characterized as racist.

       65.      Between January 19 and January 25, CNN utterly disregarded the truth and

falsely accused Nicholas of, among other things, “surrounding” Phillips, getting “right in

[Phillips’] face,” and “block[ing]” Phillips’ “path” and “escape” from a “really dangerous”

“mob” “wanting . . . to just rip [Phillips] apart” and chanting “build that wall” and

“Trump2020,” as he and his classmates otherwise “harass[ed],” “taunted,” and

“mock[ed]” Phillips — which were described as acts of “hate and racism.”

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                 ONLINE VIDEOS OF THE JANUARY 18 INCIDENT
       66.      On the evening of January 18, 2019, at 7:33 p.m., Kaya Taitano, a

participant in the Indigenous Peoples March, posted online a selectively edited 59 second

video depicting only a small portion of the interaction between Nicholas and Phillips, and

later that night, she posted a 3 minute 44 second video (collectively, the “Taitano Videos”).

       67.      The Taitano Videos did not show, among other things:

                (a)    the Black Hebrew Israelites’ misconduct and homophobic, racist

             slurs directed at the CovCath students;

                (b)    that Phillips had approached the students and inserted himself into

             their area before confronting Nicholas;

                (c)    that the students were already engaged in school cheers at the time

             Phillips approached;

                (d)    Nicholas engaging in any misconduct, including harassing, mocking,

             or taunting anyone;

                (e)    Nicholas making any gesture of any kind except to, at times,

             awkwardly smile;

                (f)    Nicholas uttering any words to Phillips or his companions;

                (g)    Nicholas moving into Phillips’ path;

                (h)    Nicholas blocking Phillips’ escape; or

                (i)    Nicholas physically or verbally threatening Phillips in any manner.

       68.      At 11:13 p.m. on January 18, 2019, @2020fight, a fake Twitter account with

a following of approximately 41,000, tweeted a 1 minute 1 second clip from the Taitano

Videos with the comment, “This MAGA loser gleefully bothering a Native American

protestor at the Indigenous Peoples March” (the “2020fight Video”).

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       69.      The 2020fight Video, alone, is reported as having been viewed at least

2,500,000 million times, retweeted 14,000 times, and liked 27,000 times before the

account was suspended by Twitter no later than January 21.

       70.      Screenshots available online of the 2020fight Video show it was viewed at

least 10.6 million times.

       71.      According to CNN’s own media report, the @2020fight account was created

in December 2016, tweeted an average of 130 times a day, and was suspicious for its high

follower count, unusually high rate of tweets, highly polarized and yet inconsistent

political messaging, and the use of someone else’s image in the profile photo.

       72.      Any reasonable, objective, and unbiased journalist would have readily

known that the 2020fight Video was little more that a snapshot of the January 18 incident

and that accurate and fair reporting on it required investigation into the events which

occurred before and after those depicted in the short video clip posted on Twitter.

       73.      With no investigation whatsoever into the @2020fight account or the full

events in context, CNN rushed to actively, negligently, and recklessly participate in the

2020fight Video going viral on social media when on January 19 at 8:52 a.m. PST, CNN’s

reporter Sara Sidner, using her @sarasidnerCNN Twitter account, posted a tweet that

reposted the 2020fight Video. A true and correct copy of Sidner’s tweet is attached hereto

as Exhibit A.

       74.      Sidner actively contributed to CNN’s reporting on the January 18 incident,

including by conducting an interview of Phillips mere hours after her retweet.

       75.      Prior to Sidner’s tweet, CNN analyst Sellers had already piled on during the

social media frenzy by first retweeting the 2020fight Video and then advocating for

violence against Nicholas by tweeting at 7:09 a.m. as follows: “He is a deplorable. Some

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ppl [sic] can also be punched in the face.” A true and correct copy of Sellers’ tweets are

attached hereto as Exhibit B.

       76.    Despite Sellers’ public advocacy of violence against Nicholas, a minor child,

Sellers remains an analyst for CNN and was on its air as late as February 1, 2019,

disparaging Nicholas and his CovCath classmates.

       77.    Sidner likewise continues to be a CNN on-air personality.

       78.    An accurate video as to what occurred on January 18, 2019, was available

online on January 19, 2019, when Shar Yaqataz Banyamyan, one of the Black Hebrew

Israelites who was present for the encounter between Phillips and Nicholas, posted a 1

hour and 46-minute video on Facebook (the “Banyamyan Video”).1

       79.    A plethora of relevant video was also available online but ignored by CNN

and the social media mob as CNN continued its false reporting over its “wire” and

promoted the republication of the false accusations by news outlets across the country

and the world.

       80.    From online video and fair use of media broadcasts, Nicholas’ counsel

produced a fourteen-minute video distilling what occurred on January 18, entitled

“Nicholas Sandmann: The Truth in 15 Minutes” (the “Sandmann Video”), available at

https://www.youtube.com/watch?v=lSkpPaiUF8s (last visited March 11, 2019).

       81.    The Banyamyan and Sandmann Videos accurately set forth the truth of the

January 18 incident.

       82.    The Banyamyan and Sandmann Videos demonstrate that this incident was

intentionally instigated by the Black Hebrew Israelites and Phillips, and that Nicholas was


1See https://www.youtube.com/watch?v=t3EC1_gcr34&feature=youtu.be&t=523 (last
visited March 11, 2019).
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targeted by professional activists whose false accusations neatly fit the mainstream

media’s and social media’s anti-Trump agenda.

       83.   The Banyamyan and Sandmann Videos demonstrate that Nicholas did not

engage in any of the misconduct described by CNN.

                   NICHOLAS’ STATEMENT AND NBC INTERVIEW

       84.   On the afternoon of January 20, in an attempt to stem the threats of physical

violence being made against him, his family, and his CovCath classmates, Nicholas made

public a statement in which he provided a detailed and accurate factual description of the

January 18 incident. A copy of Nicholas’ January 20 statement is attached hereto as

Exhibit C.

       85.   On January 23, in a further attempt to stem the threats of physical violence

being made against him, his family, and his CovCath classmates, Nicholas agreed to an

interview by Savannah Guthrie on the NBC Today show in which he reiterated his

detailed and accurate factual description of his encounter with Phillips despite

accusatory, “victim shaming” questions by Guthrie.

                      AN INVESTIGATION REVEALS THE TRUTH

       86.   CNN did not conduct a proper investigation before publishing its false and

defamatory statements of and concerning Nicholas.

       87.   Pressured by the agendas of certain individuals, a false and defamatory

statement of and concerning Nicholas was also published by the Diocese of Covington on

January 19 before a proper investigation had been conducted by the Diocese.

       88.   If CNN has bothered to speak to the Diocese of Covington, it would have

learned that the statement was issued without any investigation by the Diocese.



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       89.      Subsequently, the Diocese of Covington retained through its counsel a

third-party investigative firm, Greater Cincinnati Investigation, Inc. (“GCI”), to

investigate and determine the facts of the January 18 incident.

       90.      On February 11, 2019, GCI issued its Final Investigative Report (the “GCI

Report”), a true and correct copy of which is attached hereto as Exhibit D.

       91.      On February 11, 2019, Diocese Bishop Foys released the GCI Report and

said in a letter to the Covington Catholic parents that the GCI Report exonerated the

students and demonstrated that the students did not instigate the incident at the Lincoln

Memorial. A true and correct copy of said letter is attached hereto as Exhibit E.

       92.      The GCI Report is entirely consistent with all video evidence as well as

statements issued by Nicholas and other CovCath students and chaperones.

       93.      According to the GCI Report, four (4) licensed investigators spent

approximately 240 man hours investigating the incident, interviewed 43 students and 13

chaperones, reviewed approximately 50 hours of Internet activity, and attempted to

interview Phillips, who failed to respond to phone calls, emails, or investigators who

waited outside his home for 6 hours and left a note asking him to contact them.

       94.      The GCI Report made the following key findings:

                (a)      Nicholas’ January 20 statement accurately reflects the January 18

             incident.

                (b)      There was “no evidence that students responded [to the Black

             Hebrew Israelites] with any offensive or racist statements of their own.”

                (c)      The students asked their chaperones if they could perform school

             cheers to drown out the Black Hebrew Israelites’ invective, and upon receiving



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             approval, they performed the same cheers that are commonly performed at

             football or basketball games.

                (d)    There was “no evidence that the students performed a ‘Build the

             Wall’ chant.”

                (e)    Phillips approached the Covington Catholic students.

                (f)    There was “no evidence of offensive or racist statements by students

             to Mr. Phillips or members of his group.”

                (g)    The majority, if not all, of the MAGA hats being worn by students

             were purchased before, during, or after the March for Life.

                (h)    In previous years, some students had purchased ‘Hope’ hats in

             support of President Obama.

                (i)    “Mr. Phillips’ public interviews contain some inconsistencies. . . .”

                  PHILLIPS’ INCONSISTENT AND FALSE CLAIMS

       95.      Phillips is known to have given at least seven interviews to mainstream

media, including CNN, The Washington Post, The Associated Press, Detroit Free Press,

MSNBC, Democracy Now, and CBS.

       96.      The accusations of Phillips and his companions, as published by CNN and

the others identified above, are remarkably inconsistent with each other and the video

evidence.

       97.      According to The Washington Post, Phillips stated that the students

“suddenly swarmed around him as he and other activists were wrapping up the march.”

       98.      According to The Associated Press, Phillips stated that “he felt compelled to

get between two groups with his ceremonial drum to defuse a confrontation.”



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         99.    According to CNN, Phillips stated he “had put myself in a really dangerous

situation,” but that he was “surrounded” by Nicholas and his classmates.

         100.   According to The Washington Post, Phillips said he was trying to “exit out

of this situation and finish my song at the Lincoln Memorial.”

         101.   Again, according to The Washington Post, “Phillips said he was trying to

reach the top of the memorial, where friends were standing.”

         102.   According to Democracy Now!, Phillips stated that “I wasn’t focusing on

anybody except taking the youth out of there, the Indigenous youth that was with me, out

of that situation, and that’s when Mr. Sandmann stood in front of me and blocked my

path.”

         103.   According to CNN on one occasion, Phillips was not focused on reaching the

Lincoln Memorial:

         I needed an out. I needed to escape. I needed to get away. I needed to retreat
         somehow, but the only way I could retreat at that moment, is what I see, is
         just to go forward, and when I started going forward and that mass of groups
         of people started separating and moving aside to allow me to move out of
         the way or to proceed, this young fellow put himself in front of me and
         wouldn't move.

         104.   But according to CNN on another occasion, “Phillips said the students

surrounded him and Sandmann blocked his path to the Lincoln Memorial steps.”

         105.   Despite Phillips’ public claims that the students yelled “build that wall,” “go

back to Africa,” and “go back to the reservation,” no video evidence exists substantiating

this accusation.

         106.   Despite Phillips’ claims that the students left because they were “running

from the police,” the video evidence and statements of witnesses demonstrate that the




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students left to catch their buses and Phillips then turned away from the top of the stairs

and celebrated his perceived “win” with his companions.

       107.   Although Phillips has previously claimed to have served in Vietnam, it is

now evident that though Phillips was in the Marines, he was never deployed overseas.

       108.   Even a cursory review of Phillips past would have raised serious concerns

among objective journalists as to his reliability and credibility as a source for describing

the January 18 incident and would have revealed that Phillips was a liar and an activist

with an agenda.

                                THE CNN COVERAGE

       109.   CNN rushed to be among the first members of the broadcast and online

mainstream media to assassinate Nicholas’ character and reputation, airing its false and

defamatory interview with Phillips on January 19.

       110.   CNN also posted its first article about the January 18 incident on January

19.

       111.   To the extent the January 18 incident was newsworthy at all, it was not “hot

news” or “breaking news.”

       112.   CNN did not investigate the January 18 incident prior to publishing its false

and defamatory accusations and any efforts it might now claim to be investigative in

nature were woefully inadequate and unreasonably deficient when weighed against

journalistic standards, particularly standards governing reporting on minors.

       113.   One of the reporters on the story first retweeted the 2020fight video just

hours before interviewing Phillips.




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       114.   In the intervening time, CNN apparently managed to track down and

interview Phillips, write and publish a written story, edit the filmed interview, and prepare

for a live broadcast.

       115.   CNN rushed to interview Phillips because his lies about Nicholas, a student

wearing a MAGA cap, neatly fit CNN’s anti-Trump agenda.

       116.   As CNN belatedly acknowledged, the social media mob was “the latest

example of social media's glaring problem: snap judgments, without full context, spread

by people who themselves could be trying to deceive or sway opinions.”

       117.   But CNN refused to acknowledge the obvious: its coverage of the January

18 incident was riddled with the same glaring problems of uniformed, biased social media

snap judgments without context by people who are trying to influence others because

CNN relied on social media accusations and extended them far beyond them in describing

the incident without performing its journalistic and ethical duties to conduct a reasonable

investigation and treat children with heightened sensitivity.

       118.   One of CNN’s on-air reporters, S.E. Cupp, who also rushed to judgment in

her CNN broadcast on January 19 (bearing the caption “Shameful Act [–] Viral Video

Captures Teens Mocking Native American Veteran”) lamented two days later:

       Hey guys. Seeing all the additional videos now, and I 100% regret reacting
       too quickly to the Covington story. I wish I’d had the fuller picture before
       weighing in, and I’m truly sorry.

A true and correct copy of the Cupp tweet is attached hereto as Exhibit F.

       119.   This admission came on Cupp’s personal Twitter account (@secupp)

and has never been posted on her CNN Twitter (@UnfilteredSE) or on any of

CNN’s own media channels.



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       120.   CNN has belatedly conceded that “[m]ost commentators have cited

Sandman's standoff with a Native American veteran at the Lincoln Memorial as a parable

about rushed judgment” in which “people were quick to heap scorn on the Kentucky

teenager without knowing all the facts.”

       121.   This is a parable in which CNN was a main culprit but yet it never to the

date of the filing of this Complaint issued a formal retraction, correction or an apology to

Nicholas.

                     PARTIES, JURISDICTION, AND VENUE

       122.   Nicholas Sandmann and his parents reside in Kenton County, Kentucky.

       123.   Nicholas is a 16-year old 11th grade student who attends CovCath, an all-

male Catholic high school in Park Hills, Kentucky.

       124.   CNN is a foreign corporation existing under the laws of the State of

Delaware with its principal place of business being located at One CNN Center, Atlanta,

Georgia 30303. CNN may be served by delivery of a copy of the summons and complaint

to its duly-appointed registered agent, the Corporation Trust Company, Corporation

Trust Center, 1209 Orange Street, Wilmington, Delaware 19801.

       125.   There exists complete diversity of citizenship between Plaintiffs and CNN.

       126.   The amount in controversy greatly exceeds Seventy-Five Thousand Dollars

($75,000.00), exclusive of interests, costs, and attorneys’ fees, as required to sustain

subject-matter jurisdiction in this Court.

       127.   This Court has subject-matter jurisdiction over this matter pursuant to 28

U.S.C. § 1332(a).

       128.   CNN is the nation’s first cable news network and remains a fixture of cable

news – both nationally and internationally.

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       129.   CNN transacts business in the State of Kentucky, including through the

distribution of its content through cable television and the Internet, and CNN committed

the tortious acts identified herein in the State of Kentucky.

       130.   CNN published the broadcasts and online articles identified herein in the

State of Kentucky.

       131.   CNN has intentionally sought and obtained benefits from their tortious acts

in the State of Kentucky.

       132.   CNN directed its conduct at Nicholas, a citizen of Kentucky.

       133.   Nicholas suffered substantial reputational and emotional harm in this

District.

       134.   There is a reasonable and direct nexus between CNN’s tortious conduct in

Kentucky and the harm suffered by Nicholas in Kentucky and beyond.

       135.   CNN is subject to the jurisdiction of this Court pursuant to KRS 454.210.

       136.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the

CNN is subject to personal jurisdiction in this District and/or a substantial part of the

events giving rise to this claim occurred in this District, including publication and injury.

                            CAUSE OF ACTION FOR DEFAMATION

       137.   Nicholas reasserts and incorporates by reference paragraphs 1 through 136

of this Complaint as if fully restated herein.

       138.   CNN published to third parties without privilege no less than four (4) false

and defamatory television broadcasts, nine (9) false and defamatory Internet articles, and

four (4) false and defamatory tweets of and concerning Nicholas.

       139.   On January 19, 2019, CNN aired its first false and defamatory broadcast,

which it also posted online, subtitled “NATIVE AMERICAN WAR VET: ‘THIS YOUNG

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FELLA PUT HIMSELF IN FRONT OF ME AND WOULD NOT MOVE’” (the “First

Broadcast”).

       140.    The First Broadcast was mirrored by others and can be viewed by the Court

at   https://www.youtube.com/watch?v=ZY1GfvJWeGY&has_verified=1              (last   visited

March 4, 2019).

       141.    The First Broadcast features Nicholas prominently by publication of the

Taitano Videos and emphasizing his alleged involvement as “a young man [that] got right

in his [Phillips’] face.”

       142.    The First Broadcast published selected portions of a taped interview of

Phillips.

       143.    The First Broadcast communicated the false and defamatory gist that

Nicholas instigated a confrontation with Phillips and otherwise engaged in racist conduct.

       144.    The First Broadcast communicated the false and defamatory gist that

Nicholas assaulted Phillips.

       145.    The First Broadcast communicated the false and defamatory gist that

Nicholas engaged in racist taunts.

       146.    The First Broadcast communicated the false and defamatory gist that

Nicholas’ behavior violated the fundamental standards of his religious community.

       147.    The First Broadcast communicated the false and defamatory gist that

Nicholas’ behavior violated the policies of his school such that he should be expelled.

       148.    In its First Broadcast, CNN published or republished the following false and

defamatory statements:

               (a)     The subtitle “HEARTBREAKING VIRAL VIDEO … Viral video

            appears to show teens harassing Nathan Phillips in DC”

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             (b)     The subtitle “HEARTBREAKING VIRAL VIDEO … ‘I’M A VIETNAM

          VETERAN AND I KNOW THAT MENTALITY OF ‘THERE’S ENOUGH OF US,

          WE CAN DO THIS’”

             (c)     The subtitle “NATIVE AMERICAN WAR VET: ‘THIS YOUNG FELLA

          PUT HIMSELF IN FRONT OF ME AND WOULD NOT MOVE”

             (d)     “We are hearing from a Native American elder and Vietnam War

          veteran speaking to CNN after a disturbing viral video shows a group of teens

          harassing and mocking him in the nation’s capital.”

             (e)     “Nathan Phillips was beating his drum and singing an American

          Indian protest song . . . when he saw a clash erupting between a group of

          teenaged students and four African American young men preaching about the

          bible and oppression . . . .”

             (f)     “‘When I was there and I was standing there and I seen that group of

          people in front of me and I seen the angry faces and all of that I realized I had

          put myself in a really dangerous situation, you know, it was like here is a group

          of people who were angry at somebody else and I put myself in front of that and

          all of a sudden I am the one who all that anger and all that wanting to have the

          freedom to just rip me apart, you know, that was scary. I’m a Vietnam times

          veteran and I know that mentality of ‘there’s enough of us, we can do this.’”

             (g)     “Then Phillips describes the tense moments now being replayed over

          and over again online when a young man got right in his face, watch.”

             (h)     “‘When I started going forward and that massive groups of people

          started separating and separating and moving aside to allow me to move out of

          the way, or to proceed, this young feller put himself in front of me and wouldn’t

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          move. And, so I couldn’t – if I took another step, I would be putting my person

          into his presence, into his space, and I would have touched him, and that would

          have been the thing that the group of people would have needed to spring on

          me.’”

               (i)   “We condemn the actions of the Covington Catholic High School

          students towards Nathan Phillips specifically, and Native Americans in general,

          Jan. 18, after the March for Life, in Washington, D.C. We extend our deepest

          apologies to Mr. Phillips. This behavior is opposed to the Church’s teachings

          on the dignity and respect of the human person.          The matter is being

          investigated and we will take appropriate action, up to and including expulsion

          . . .”

       149.    On January 19, 2019, CNN aired its second false and defamatory broadcast,

which it also posted online, subtitled “SHAMEFUL ACT [-] VIRAL VIDEO CAPTURES

TEENS MOCKING NATIVE AMERICAN VETERAN” (the “Second Broadcast”).

       150.    The   Second    Broadcast     can    be   viewed   by   the    Court    at

https://twitter.com/unfilteredse/status/1086789656207810561?lang=en (last visited

March 4, 2019).

       151.    The Second Broadcast features Nicholas prominently by publication of the

Taitano Videos and otherwise emphasizing his alleged involvement by focusing on a still

photograph taken from the Taitano Videos, which was rendered in black and white, except

for the three MAGA caps, which were displayed in glaring red.

       152.    The Second Broadcast communicated the false and defamatory gist that

Nicholas instigated a confrontation with Phillips and the Black Hebrew Israelites and

otherwise engaged in racist conduct.

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       153.   The Second Broadcast communicated the false and defamatory gist that

Nicholas assaulted Phillips.

       154.   The Second Broadcast communicated the false and defamatory gist that

Nicholas engaged in racist taunts.

       155.   The Second Broadcast communicated the false and defamatory gist that

Nicholas’ behavior violated the fundamental standards of his religious community.

       156.   The Second Broadcast communicated the false and defamatory gist that

Nicholas’ behavior violated the policies of his school such that he should be expelled.

       157.   In its Second Broadcast, CNN published or republished the following false

and defamatory statements:

              (a)    The subtitle “‘SHAMEFUL ACT [-] VIRAL VIDEO CAPTURES

          TEENS MOCKING NATIVE AMERICAN VETERAN.”

              (b)    “You’ve probably seen it by now, the viral video sweeping the

          Internet of a mob of MAGA hat wearing high school students surrounding a

          Native American chanting and drumming in the nation’s capital at the

          Indigenous Peoples March.”

              (c)    “He and others were harassed and taunted by students from

          Covington Catholic High School, a private all boys school in Kentucky . . . .”

              (d)    “The Communications Director with the Roman Catholic Diocese of

          Covington released a brief statement today, saying in part ‘We condemn the

          actions of the Covington Catholic High School students towards Nathan

          Phillips specifically, and Native Americans in general… The matter is being

          investigated and we will take the appropriate action, up to and including

          expulsion.’”

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               (e)   “Well those are some tough words, and clearly these boys are not

           getting a good education, because it makes little sense to angrily chant ‘build

           the wall’ to a population with literally zero illegal immigrants, who were here

           long before we were.”

               (f)   “Nathan Phillips has told CNN that these kids originally started

           shouting at a group of African-Americans and he walked between them trying

           to break up the shouting match that followed. What did you think when you

           saw these kids starting to circle Nathan Phillips?”

               (g)   “As an attorney I felt that this qualified as a legal definition of assault.

           They were causing an apprehension, an objective fear of offensive contact or

           harm.”

               (h)   What you mentioned, they originally started by taunting a group of

           African-Americans, they moved over to Nathan Phillips and your group.”

       158.    On January 19, 2019, CNN published online its first false and defamatory

article entitled “Teens in Make America Great Again hats taunted a Native American elder

at the Lincoln Memorial” (the “First Article”). A true and correct copy of the First Article

is attached hereto as Exhibit G.

       159.    The First Article referenced the viral Taitano Videos prominently featuring

Nicholas, and emphasized Nicholas’ alleged involvement, including by referring to him as

“a smiling young man in a red Make America Great Again hat standing directly in front of

[Phillips].”

       160.    The First Article communicated the false and defamatory gist that Nicholas

instigated a confrontation with Phillips and the Black Hebrew Israelites and otherwise

engaged in racist conduct.

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       161.   The First Article communicated the false and defamatory gist that Nicholas

engaged in racist taunts.

       162.   The First Article communicated the false and defamatory gist that Nicholas

assaulted Phillips.

       163.   The First Article communicated the false and defamatory gist that Nicholas’

behavior violated the fundamental standards of his religious community.

       164.   The First Article communicated the false and defamatory gist that Nicholas’

behavior violated the policies of his school such that he should be expelled.

       165.   In its First Article, the CNN published or republished the following false and

defamatory statements:

              (a)     The headline “Teens in Make America Great Again hats taunted a

          Native American elder at the Lincoln Memorial”

              (b)     “A crowd of teenagers surrounded a Native American elder and other

          activists and mocked them after Friday’s Indigenous Peoples March at the

          Lincoln Memorial.”

              (c)     “‘I did not feel safe in that circle,’ said Kaya Taitano, a student at the

          University of the District of Columbia who participated in the march and shot

          the videos.”

              (d)     “She [Taitano] told CNN that the teens were chanting things like

          ‘Build the wall’ and ‘Trump 2020.’”

              (e)     “Taitano said the whole incident started when the teens and four

          young African-Americans, who’d been preaching about the Bible nearby,

          started yelling and calling each other names.”



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               (f)   “Phillips walked through the crowd, and Taitano said things were

          starting to calm down until he got to the grinning boy seen in the video. ‘This

          one kid just refused to move and he just got in Nathan’s face,’ she said.” Other

          boys circled around, she said. ‘They just surrounded him and they were

          mocking him and mocking the chant . . . .’”

               (g)   “‘I was scared, I was worried for my young friends. I don’t want to

          cause harm to anyone,’ Phillips told CNN’s Sara Sidner. ‘I don’t like the word

          ‘hate.’ I don’t like even saying it, but it was hate unbridled. It was like a storm.’”

               (h)   “‘What the young man was doing was blocking my escape. I wanted

          to leave. I was thinking, ‘How do I get myself out of this? I want to get away

          from it,’ Phillips said.”

               (i)   “‘We condemn the actions of the Covington Catholic High School

          students towards Nathan Phillips specifically, and Native Americans in general,

          Jan. 18, after the March for Life, in Washington, D.C. We extend our deepest

          apologies to Mr. Phillips. This behavior is opposed to the Church’s teachings

          on the dignity and respect of the human person.               The matter is being

          investigated and we will take appropriate action, up to and including expulsion

          . . . .”

               (j)   “Phillips also appeared upset in a video Taitano posted after the

          confrontation. He wiped away tears as he talked about the chants of ‘build that

          wall.’”

       166.    On January 20, 2019, CNN published online its second false and

defamatory article entitled “Native American man confronted by teens speaks out” (the



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“Second Article”). A true and correct copy of the Second Article is attached hereto as

Exhibit H.

       167.   The Second Article referenced the First Broadcast, which displays and

discusses the viral Taitano Videos prominently featuring Nicholas.

       168.   The Second Article communicated the false and defamatory gist that

Nicholas instigated a confrontation with Phillips and otherwise engaged in racist conduct.

       169.   The Second Article communicated the false and defamatory gist that

Nicholas engaged in racist taunts.

       170.   The Second Article communicated the false and defamatory gist that

Nicholas assaulted Phillips.

       171.   The Second Article communicated the false and defamatory gists

communicated by the First Broadcast.

       172.   In its Second Article, CNN published or republished the following false and

defamatory statements:

              (a)      The headline “Native American man confronted by teens speaks

          out.”

              (b)      “Nathan Phillips, a Native American elder with the Omaha tribe,

          shares how he felt after he was mocked by a crowed of teenagers wearing ‘Make

          America Great Again’ hats during the Indigenous Peoples March in

          Washington.”

              (c)      The republication of certain of the false statements in the First

          Broadcast set forth above, including the following:

                       i.    The subtitle “HEARTBREAKING VIRAL VIDEO … Viral video

                    appears to show teens harassing Nathan Phillips in DC”

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                   ii.    The subtitle “HEARTBREAKING VIRAL VIDEO … ‘I’M A

                VIETNAM VETERAN AND I KNOW THAT MENTALITY OF ‘THERE’S

                ENOUGH OF US, WE CAN DO THIS’”

                  iii.    The subtitle “‘NATIVE AMERICAN WAR VET: ‘THIS YOUNG

                FELLA PUT HIMSELF IN FRONT OF ME AND WOULD NOT MOVE”

                  iv.     “When I was there and I was standing there and I seen that

                group of people in front of me and I seen the angry faces and all of that

                I realized I had put myself in a really dangerous situation, you know, it

                was like here is a group of people who were angry at somebody else and

                I put myself in front of that and all of a sudden I am the one who all that

                anger and all that wanting to have the freedom to just rip me apart, you

                know, that was scary. I’m a Vietnam times veteran and I know that

                mentality of ‘there’s enough of us, we can do this.’”

                   v.     “Then Phillips describes the tense moments now being

                replayed over and over again online when a young man got right in his

                face, watch.”

                  vi.     “When I started going forward and that massive groups of

                people started separating and separating and moving aside to allow me

                to move out of the way, or to proceed, this young feller put himself in

                front of me and wouldn’t move. And, so I couldn’t – if I took another

                step, I would be putting my person into his presence, into his space, and

                I would have touched him, and that would have been the thing that the

                group of people would have needed to spring on me.”



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                      vii.       “We condemn the actions of the Covington Catholic High

                    School students towards Nathan Phillips specifically, and Native

                    Americans in general, Jan. 18, after the March for Life, in Washington,

                    D.C. We extend our deepest apologies to Mr. Phillips. This behavior is

                    opposed to the Church’s teachings on the dignity and respect of the

                    human person.      The matter is being investigated and we will take

                    appropriate action, up to and including expulsion . . .”

       173.   The above portion of the First Broadcast is hereinafter referred to as the

“Republished First Broadcast.” The Court may view the Republished First Broadcast at

https://www.CNN.com/videos/us/2019/01/20/native-american-nathan-phillips-maga-

teens-video-sot-nr-vpx.CNN (last visited March 5, 2019).

       174.   In addition to the nine articles expressly sued upon herein, CNN also

republished online the Republished First Broadcast on at least four (4) occasions as

follows:

              (a)      January 22, 2019, article entitled “Trump takes students’ side in

           racially          charged   DC        protest     controversy,”     available   at

           https://www.CNN.com/2019/01/22/politics/donald-trump-covington-

           students/index.html;

              (b)      January 22, 2019, article entitled “Native American elder and

           Covington Catholic teen both say they are willing to talk,” available at

           https://www.CNN.com/2019/01/22/us/covington-catholic-high-school-

           threats/index.html;

              (c)      January 22, 2019, article entitled “DC Protest weekend was a

           national     Rorschach      test,”   available   at   https://www.CNN.com/2019/

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          01/22/opinions/washington-dc-marches-national-divisions-

          maltby/index.html; and

              (d)   January 23, 2019, article entitled “Catholic student in viral video says

          he respects Native American elder, but he doesn’t owe an apology” available at

          https://www.CNN.com/2019/01/23/us/nick-sandmann-interview-maga-

          teens-covington-catholic/index.html.

       175.   On January 20, 2019, CNN aired its third false and defamatory broadcast,

subtitled “VIRAL VIDEO [-] MAGA HAT TEENS TAUNT NATIVE AMERICAN AT

INDIGENOUS PEOPLES MARCH” (the “Third Broadcast”).

       176.   The Third Broadcast features Nicholas prominently by publication of the

Taitano Videos and otherwise emphasized his role in the January 18 incident.

       177.   The Third Broadcast communicated the false and defamatory gist that

Nicholas instigated a confrontation with Phillips and otherwise engaged in racist conduct.

       178.   The Third Broadcast communicated the false and defamatory gist that

Nicholas assaulted Phillips.

       179.   The Third Broadcast communicated the false and defamatory gist that

Nicholas engaged in racist harassment.

       180.   The Third Broadcast communicated the false and defamatory gist that

Nicholas’ behavior violated the fundamental standards of his religious community.

       181.   In its Third Broadcast, CNN published or republished the following false

and defamatory statements:

              (a)   The subtitle “VIRAL VIDEO [-] MAGA HAT TEENS TAUNT NATIVE

          AMERICAN AT INDIGENOUS PEOPLES MARCH.”



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              (b)    “A Native American elder and Vietnam war veteran is speaking to

          CNN after a disturbing viral video shows this group of teenagers harassing and

          mocking him.”

              (c)    “‘When I was there and I was standing there and I seen that group of

          people in front of me and I seen the angry faces and all of that I realized I had

          put myself in a really dangerous situation, you know, it was like here is a group

          of people who were angry at somebody else and I put myself in front of that and

          all of a sudden I am the one who all that anger and all that wanting to have the

          freedom to just rip me apart, you know, that was scary. I’m a Vietnam times

          veteran and I know that mentality of ‘there’s enough of us, we can do this.’”

              (d)    “He [Phillips] said the young man got right in his face.”

              (e)    “‘When I started going forward and that massive groups of people

          started separating and separating and moving aside to allow me to move out of

          the way, or to proceed, this young feller put himself in front of me and wouldn’t

          move. And, so I couldn’t – if I took another step, I would be putting my person

          into his presence, into his space, and I would have touched him, and that would

          have been the thing that the group of people would have needed to spring on

          me.’”

              (f)    “The Roman Diocese has condemned those teens’ actions.”

       182.   On January 21, 2019, CNN published online its third false and defamatory

article entitled “Native American elder Nathan Phillips, in his own words” (the “Third

Article”). A true and correct copy of the Third Article is attached hereto as Exhibit I.




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       183.     The Third Article referenced the viral Taitano Videos prominently featuring

Nicholas and emphasized Nicholas’ alleged involvement as being the “young fellow [who]

put himself in front of [Phillips] and wouldn't move.”

       184.     The Third Article republishes CNN’s interview of Phillips but notes that it

was “lightly edited for flow and content.”

       185.     The Third Article communicated the false and defamatory gist that Nicholas

instigated a confrontation with Phillips and the Black Hebrew Israelites and otherwise

engaged in racist conduct.

       186.     The Third Article communicated the false and defamatory gist that Nicholas

engaged in racist taunts.

       187.     The Third Article communicated the false and defamatory gist that Nicholas

assaulted Phillips and the Black Hebrew Israelites.

       188.     The Third Article communicated the false and defamatory gists

communicated by the First Broadcast.

       189.     In its Third Article, CNN published or republished the following false and

defamatory statements:

                (a)   The republication of the false statements in the Republished First

          Broadcast set forth above.

                (b)   “Phillips described what he felt was hatred coming from the young

          people in the crowd, who are pupils at Covington Catholic School in Kentucky

          ….”




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                 (c)    CNN question:2 “Tell us what happened, what transpired between

             you and the young people who were all standing around you? How did you end

             up surrounded by this group of young people with the MAGA hats on?” Phillips

             Answer: “… it escalated into an ugly situation that I found myself in the middle

             of. Yeah, I found myself in the middle of it, sort of woke up to it.”

                 (d)    CNN question: “What did it feel like that you were witnessing?”

             Phillips Answer: “Oh, what I was witnessing was just hate? Racism? Well, hate.

             What I’m saying is that when these folks came there, these other folks were

             saying their piece, and these others they got offended with it because they were

             both just expressing their own views. And if it’s racism, that’s what it was

             because the folks that were having their moment there, they were saying things

             that I don’t know if I agreed with them or not, but some of it was educational,

             and it was truth, and it was history about religious views and ideologies, but

             these other folks, the young students, they couldn’t see it. They had one point

             of view, it seemed, and that was their point of view was the only point of view

             that was worthwhile.”

                 (e)    CNN question: “Were you trying to calm the situation down basically

             when you saw kind of things seemed to spiral out of control?” Phillips Answer:

             “I think so. I think that was the push, that we need to use the drum, use our

             prayer and bring a balance, bring a calming to the situation.… It looked like

             these young men were going to attack these guys. They were going to hurt

             them. They were going to hurt them because they didn’t like the color of their



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    CNN’s questions are provided for appropriate context.
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           skin. They didn’t like their religious views. They were just here in front of the

           Lincoln – Lincoln is not my hero, but at the same time, there was this

           understanding that he brought the (Emancipation Proclamation) or freed the

           slaves, and here are American youth who are ready to, look like, lynch these

           guys. To be honest, they looked like they were going to lynch them. They were

           in this mob mentality.… To allow such hate and racism …”

               (f)    CNN question: “Let me ask you about what happened to you. These

           boys in the middle of this group and you find yourself surrounded. How did

           that happen and what did that feel like as a person standing there face to face

           with a young man who seems to be staring at you or glaring at you? How would

           you describe that moment?” Phillips Answer: “When I was there and I was

           standing there and I seen that group of people in front of me and I seen the

           angry faces and all of that, I realized I had put myself in a really dangerous

           situation. Here’s a group of people who were angry at somebody else and I put

           myself in front of that, and all of a sudden, I’m the one who[] all that anger and

           all that wanting to have the freedom to just rip me apart, that was scary. And

           I’m a Vietnam [times]3 veteran and I know that mentality of ‘There’s enough of

           us. We can do this.’”

               (g)    CNN question: “The young man that was standing in front of you,

           what was he doing and what was he trying to do as you were playing the drum.

           Were you fearful? Were you trying to leave?” Phillips Answer: “… I had realized

           where I’m at and what I was doing, and I realized there was other people with


3
 CNN’s Third Article purports to be a script of the Phillips interview shown in the First
Broadcast but omits “times” in between “Vietnam” and “veteran.”
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          me and I didn’t want them to get hurt because there was 100-plus of these

          young men who were well-fed and healthy and strong and ready to do harm to

          somebody. And they just wanted that point of ‘This is it’ and spring. If this

          young man thought that he was [at] that point and what I was trying to do, I

          realized where I was at. I needed an out. I needed to escape. I needed to get

          away. I needed to retreat somehow, but the only way I could retreat at that

          moment, is what I see, is just to go forward, and when I started going forward

          and that mass of groups of people started separating and moving aside to allow

          me to move out of the way or to proceed, this young fellow put himself in front

          of me and wouldn’t move. If I took another step, I would be putting my person

          into his presence, into his space and I would’ve touched him and that would’ve

          been the thing that the group of people would’ve needed to spring on me.

          Because if I would’ve reached out with my drum or with my hands and touched

          him, that would’ve given them – I did that. I struck out, and that’s not what I

          was doing. The song I was singing, the reason for it, was to bring unity and to

          bring love and compassion back into our minds and our beings as men and as

          protector of what is right.…”

             (h)    CNN question: “Does it feel like hatred toward you because the kids

          will say, ‘Oh we were just chanting our school chants and this person came in

          between us as we were chanting our school chants and we were not being

          hateful.’ What did it feel like to you?’” Phillips Answer: “I’m sorry. I don’t

          mean to laugh. Well, yes, I do, I guess. I heard that rhetoric before and it’s just

          one of those things, it’s got to be like water off a duck’s back. Time for lies to



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          not be accepted anymore. I don’t accept their ‘I’m just chanting a school

          chant.’”

             (i)     CNN question: “Was there fear? … What did it feel like in that

          scenario for you as you were standing there sort of surrounded and the chants

          were going on and the young man was standing sort of in your face?” Phillips

          Answer: “When they said, ‘Let’s go hit the drum, let’s go sing, let’s reclaim our

          space here’ because this was the Indigenous Peoples March rally, and when

          these two groups came together and started that and I was witnessing as it

          escalated from just two small groups, then the other one just went back and got

          more people, went back and got more people, went back and got more people

          until there were over 100 people, maybe 200 young men there facing down

          what, four individuals? Why did they need 200 people there other than it’s

          hate and racism? They had their target. They had their prey.”

             (j)     CNN question: “Were they being hateful, just bottom line? Did you

          feel hate from this group of people? Did it feel like they were being aggressive?”

          Phillips Answer: “I do believe that’s all I could feel, and I don’t like feeling it.”

             (k)     CNN question: “One of the things they said is we weren’t protesting

          against Native Americans. We were there for the March for Life and we were

          just chanting – and this is kind of putting the blame on you – and that this

          person came into our space and we were just getting all hyped up. Do you buy

          that?” Phillips Answer: “Not in the least.”

             (l)     CNN question: “What really happened?” Phillips Answer: “They

          were there looking for trouble, looking for something....”



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              (m)    CNN question: “You dispute what they’re trying to push off, which is

          basically, ‘We were just chanting our school chants and this person came into

          our space and we were just being happy-go-lucky kids.’” Phillips Answer: “No,

          not happy go lucky. If they was happy go lucky, we would’ve been laughing and

          enjoying each other’s presence and company because that’s the kind of thing I

          like to do. I like to meet people. . . . But what was happening there, there was

          nothing happy go lucky about it. It was just, ‘Build the wall’ and some of the

          things that I heard but can’t really say I exactly heard that because it was way

          over there, and they could say, ‘Oh nobody said that. It wasn’t us who said that.’

          So it’s one of those he-said, she-said, things and what I’m saying is that they

          were being very aggressive and they were very ready to hurt somebody. They

          just needed a reason. . . .”

       190.   On January 21, 2019, CNN aired its fourth false and defamatory broadcast,

which it also posted online, subtitled “STUDENT AT CENTER OF CONTROVERSIAL

VIRAL FACE-OFF SPEAKS OUT” (the “Fourth Broadcast,” with the First, Second, and

Third Broadcasts, the “Broadcasts”). The Court may view the Fourth Broadcast at

https://www.CNN.com/videos/politics/2019/01/23/covington-students-white-house-

viral-video-today-show-sidner-sot-ebof-vpx.CNN (last visited March 5, 2019).

       191.   In addition to the nine articles expressly sued upon herein, CNN also

republished online the Fourth Broadcast on at least five (5) occasions as follows:

              (a)    January 21, 2019, article entitled “Chaperones on Kentucky high

          school         trip            defend       students,”        available        at

          https://www.CNN.com/2019/01/21/us/chaperones-kentucky-high-

          school/index.html;

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                (b)   January 22, 2019, article entitled “Trump takes students’ side in

          racially      charged     DC      protest     controversy,”     available     at

          https://www.CNN.com/2019/01/22/politics/donald-trump-covington-

          students/index.html;

                (c)   January 22, 2019, article entitled “Native American elder and

          Covington Catholic teen both say they are willing to talk,” available at

          https://www.CNN.com/2019/01/22/us/covington-catholic-high-school-

          threats/index.html;

                (d)   January 22, 2019, article entitled “White House expresses support

          for         Covington        Catholic       students,”        available       at

          https://www.CNN.com/2019/01/22/politics/white-house-covington-

          students/index.html; and

                (e)   January 23, 2019, article entitled “5 things to know for January 23:

          Shutdown, teachers’ strikes, transgender military ban,” available at

          https://www.CNN.com/2019/01/23/us/five-things-january-23-

          trnd/index.html.

       192.     The Fourth Broadcast features Nicholas prominently by publication of the

Taitano Videos and discussing Nicholas’ statement about the January 18 incident.

       193.     The Fourth Broadcast communicated the false and defamatory gist that

Nicholas intentionally lied about the January 18 incident.

       194.     In its Fourth Broadcast, CNN published or republished the following false

and defamatory statements:

                (a)   “I do wanna read to you what the Native American gentleman said.

          He said look, I’ve read the statement from Nick Sandmann, he said he stared at

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          me for a long time and he didn’t apologize and he believes there are intentional

          falsehoods in his testimony.”

              (b)    “I have read the statement from Nick Sandmann, the student who

          stared at me for a long time. He did not apologize, and I believe there are

          intentional falsehoods in his testimony.”

       195.   On January 21, 2019, CNN published online its fourth false and defamatory

article entitled “A new video shows a different side of the encounter between a Native

American elder and teens in MAGA hats” (the “Fourth Article”). A true and correct copy

of the Fourth Article is attached hereto as Exhibit J.

       196.   The Fourth Article referenced the viral Taitano Videos prominently

featuring Nicholas and emphasized Nicholas’ alleged involvement, including by placing a

photo of Nicholas at the top of the article.

       197.   The Fourth Article communicated the false and defamatory gist that

Nicholas instigated a confrontation with Phillips and otherwise engaged in racist conduct.

       198.   The Fourth Article communicated the false and defamatory gist that

Nicholas engaged in racist taunts.

       199.   The Fourth Article communicated the false and defamatory gist that

Nicholas assaulted Phillips.

       200. The Fourth Article communicated the false and defamatory gists

communicated by the Fourth Broadcast.

       201.   In its Fourth Article, CNN published or republished the following false and

defamatory statements:




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              (a)    The republication of the false statements in the Fourth Broadcast set

          forth above, including that Nicholas’ version of events contains “intentional

          falsehoods.”

              (b)    “A video that shows white high school students in Make America

          Great Again hats and shirts mocking a Native American elder shocked the

          country, leading to widespread denunciations of the teens’ behavior.”

              (c)    “Phillips has said the teen [Sandmann] blocked his escape.”

              (d)    “Kaya Taitano, who shot the viral video, said the teens were chanting

          ‘Build the wall’ and ‘Trump2020.’”

              (e)    “The situation was starting to grow calm until Sandmann got in

          Phillips’ face, Taitano said. Phillips kept chanting and beating his drum as

          other boys circled around, ‘mocking him and mocking the chant,’ Taitano said.”

              (f)    “Phillips said the teen blocked his path as he tried to keep moving. ‘I

          was scared,’ Phillips told CNN’s Sara Sidner. ‘I don’t like the word ‘hate.’ I

          don’t like even saying it, but it was hate unbridled. . . .”

       202.   On January 23, 2019, CNN published online its fifth false and defamatory

article entitled “America mocks and dehumanizes natives at every turn” (the “Fifth

Article”). A true and correct copy of the Fifth Article is attached hereto as Exhibit K.

       203.   The Fifth Article referenced the viral Taitano Videos prominently featuring

Nicholas and emphasized Nicholas’ role in the January 18 incident.

       204.   The Fifth Article communicated the false and defamatory gist that Nicholas

instigated a confrontation with Phillips and otherwise engaged in racist conduct.

       205.   The Fifth Article communicated the false and defamatory gist that Nicholas

engaged in racist taunts.

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       206. The Fifth Article communicated the false and defamatory gists of the First

Broadcast.

       207.   In its Fifth Article, CNN published or republished the following false and

defamatory statements:

              (a)    The republication of the false statements in the Republished First

          Broadcast set forth above.

              (b)    The sub-headline “Native American confronted by teens speaks out”

              (c)    “Let’s be absolutely clear about something here: Whatever else may

          have been said about it or our country’s reactions to it, the racist disrespect of

          Nathan Phillips, a Native American elder, by Nick Sandmann and his MAGA-

          hat clad classmates of Covington Catholic High School at the Lincoln Memorial

          is nothing new.”

              (d)    “Indeed, the very form of anti-native ridicule and disrespect of

          personhood and culture caught on multiple videos that day predates Donald J.

          Trump and his base by centuries.”

              (e)    “Just business as usual in America, which is why when Sandmann

          was filmed smirking at Phillips as his raucous peers whooped and jeered in the

          background I wasn’t surprised at all.”

              (f)    “It also didn’t shock me when the all-boys Catholic school crew went

          so far as to shout ‘build the wall’ at a Native American, according to Phillips’

          account of the event.”

              (g)    “And the irony isn't lost on me that white kids – descendants of

          Europe, presumably – would shout ‘build the wall’ at a man whose ancestry on

          this soil is tens of thousands of years old.”

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              (h)     “And that is the only difference here:      Sandmann intentionally

          mocked a native elder for the entertainment of his friends, got caught, and still

          won’t apologize.”

       208. On January 23, 2019, CNN published online its sixth false and defamatory

article entitled “Teen in confrontation with Native American Elder says he was trying to

defuse the situation” (the “Sixth Article”). A true and correct copy of the Sixth Article is

attached hereto as Exhibit L.

       209. The Sixth Article referenced the viral Taitano Videos prominently featuring

Nicholas and emphasized Nicholas’ role in the January 18 incident.

       210.   The Sixth Article communicated the false and defamatory gist that Nicholas

instigated a confrontation with Phillips and otherwise engaged in racist conduct.

       211.   The Sixth Article communicated the false and defamatory gist that Nicholas

engaged in racist taunts.

       212.   The Sixth Article communicated the false and defamatory gist that Nicholas

assaulted Phillips.

       213.   The Sixth Article communicated the false and defamatory gist that Nicholas’

behavior violated the fundamental standards of his religious community.

       214.   The Sixth Article communicated the false and defamatory gist that Nicholas’

behavior violated the policies of his school such that he should be expelled.

       215.   The Sixth Article communicated the false and defamatory gists of the Fourth

Broadcast.

       216.   In its Sixth Article, CNN published or republished the following false and

defamatory statements:



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             (a)     The republication of the false statements in the Fourth Broadcast set

          forth above, including that Nicholas’ version of events contains “intentional

          falsehoods.”

             (b)     “A crowd of teenagers surrounded a Native American elder and other

          activists and appeared to mock them after Friday’s Indigenous Peoples March

          at the Lincoln Memorial.”

             (c)     “Nathan Phillips, an elder with the Omaha Tribe, said the

          confrontation felt like ‘hate unbridled.’ In the moment, he said he was scared

          for his safety and the safety of those with him.”

             (d)     “Kaya Taitano, a student at the University of the District of Columbia,

          participated in the Indigenous Peoples March earlier in the day. She said the

          teens were chanting things like ‘Build the wall’ and ‘Trump2020.’ … ‘I did not

          feel safe in that circle,’ she said.”

             (e)     “… Taitano said things were starting to calm down until he got to the

          grinning boy seen in the video. ‘This one kid just refused to move and he just

          got in Nathan’s face,’ she said. Other boys circled around, she said. ‘They just

          surrounded him and they were mocking him and mocking the chant.’”

             (f)     “‘I was scared, I was worried for my young friends. I don’t want to

          cause harm to anyone,’ Phillips told CNN’s Sara Sidner. ‘I don’t like the word

          ‘hate.’ I don’t even like saying it, but it was hate unbridled. . . .”

             (g)     “‘What the young man was doing was blocking my escape. I wanted

          to leave. I was thinking, ‘How do I get myself out of this? I want to get away

          from it,’ Phillips said.”



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              (h)    “‘We condemn the actions of the Covington Catholic High School

          students towards Nathan Phillips specifically, and Native Americans in general,

          Jan. 18, after the March for Life, in Washington, D.C. We extend our deepest

          apologies to Mr. Phillips. This behavior is opposed to the Church’s teachings

          on the dignity and respect of the human person.            The matter is being

          investigated and we will take appropriate action, up to and including expulsion.

          ...”

              (i)    Video of Phillips saying “I heard them saying, ‘Build that wall, build

          that wall.’”

       217.   On January 23, 2019, CNN published online its seventh false and

defamatory article entitled “Viral video sparks outrage” (the “Seventh Article”). A true

and correct copy of the Seventh Article is attached hereto as Exhibit M.

       218.   The Seventh Article referenced the viral Taitano Videos prominently

featuring Nicholas and emphasized Nicholas’ role in the January 18 incident.

       219.   The Seventh Article communicated the false and defamatory gist of the

Fourth Broadcast.

       220. In its Seventh Article, CNN published or republished the false statements in

the Fourth Broadcast set forth above, including that Nicholas’ version of events contains

“intentional falsehoods.”

       221.   On January 24, 2019, CNN published online its eighth false and defamatory

article entitled “Native American elder from viral staredown [sic] says teen’s response is

coached, insincere” (the “Eighth Article”). A true and correct copy of the Eighth Article is

attached hereto as Exhibit N.



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       222.   The Eighth Article referenced the viral Taitano Videos prominently

featuring Nicholas and emphasized Nicholas’ role in the January 18 incident.

       223.   The Eighth Article communicated the false and defamatory gist that

Nicholas instigated a confrontation with Phillips and otherwise engaged in racist conduct.

       224.   The Eighth Article communicated the false and defamatory gist that

Nicholas engaged in racist taunts.

       225.   The Eighth Article communicated the false and defamatory gist that

Nicholas assaulted Phillips.

       226.   The Eighth Article communicated the false and defamatory gists of the First

and Fourth Broadcast.

       227.   In its Eighth Article, CNN published or republished the following false and

defamatory statements:

              (a)    The republication of the false statements in the Republished First

          Broadcast set forth above.

              (b)    The republication of the false statements in the Fourth Broadcast set

          forth above, including that Nicholas’ version of events contains “intentional

          falsehoods.”

              (c)    “Omaha Nation elder Nathan Phillips says he thinks Nick Sandmann,

          the Catholic school teen with whom he faced off last week in Washington, is

          skirting accountability and needs to apologize for his actions.”

              (d)    “Phillips said the students surrounded him, and Sandmann blocked

          his path to the Lincoln Memorial steps. He heard some students chant, ‘Build

          the wall,’ he said.”



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              (e)     “‘When I put myself in prayer and used that drum to reach God, that

          mass of young men surrounded me and the folks that were with me,’ he said.”

              (f)     Asked if he should have walked away, Phillips said he tried but

          couldn’t. ‘I was blocked,’ he said.”

       228.   On January 25, 2019, CNN published online its ninth false and defamatory

article entitled “Kentucky Catholic diocese apologizes for condemning students in viral

video with Native American elder” (the “Ninth Article”). A true and correct copy of the

Ninth Article is attached hereto as Exhibit O.

       229.   The Ninth Article referenced the viral Taitano Videos prominently featuring

Nicholas and emphasized Nicholas’ role in the January 18 incident.

       230.   The Ninth Article communicated the false and defamatory gist that Nicholas

instigated a confrontation with Phillips and otherwise engaged in racist conduct.

       231.   The Ninth Article communicated the false and defamatory gist that Nicholas

engaged in racist taunts.

       232.   The Ninth Article communicated the false and defamatory gist that Nicholas

assaulted Phillips.

       233.   The Ninth Article communicated the false and defamatory gists of the First

Broadcast.

       234.   The Ninth Article communicated the false and defamatory gists of the

Fourth Broadcast.

       235.   In its Ninth Article, CNN published or republished the following false and

defamatory statements.

              (a)     The republication of the false statements in the Republished First

          Broadcast set forth above.

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              (b)     The republication of the false statements in the Fourth Broadcast set

           forth above, including that Nicholas’ version of events contains “intentional

           falsehoods.”

              (c)     “Phillips, on the other hand, told CNN this week he felt hatred

           coming from the young people in the crowd. When asked about Nick standing

           in front of him, Phillips told CNN he was trying to retreat and the only way he

           could do so was to go forward. ‘When I started going forward and that mass of

           groups of people started separating and moving aside to allow me to move out

           of the way or to proceed, this young fellow put himself in front of me and

           wouldn’t move,’ Phillips said.”

              (d)     “[Phillips] felt like he was being mocked . . . .”

       236.   The First, Second, Third, Fourth, Fifth, Sixth, Seventh, Eighth, and Ninth

Articles are collectively referred to herein as the “Articles.”

       237.   On January 19, 2019, CNN also posted on its Twitter page for its show S.E.

Cupp Unfiltered and published to approximately 14,000 followers its Second Broadcast

(“First Tweet”) with the following false and defamatory caption: “Teens in MAGA gear

mock a Native American Vietnam vet, and @secupp wishes she could tell them there’s no

place for this in our society. ‘Unfortunately, that’s wrong. Adults model this very behavior

all the time – on social media and on the street. And it’s awful.’” A true and correct copy

of the First Tweet is attached hereto as Exhibit P.

       238.   In addition to the false and defamatory gists of the Second Broadcast, the

First Tweet also independently communicated the false and defamatory gists that

Nicholas engaged in racist conduct and racist taunts.



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       239.   On January 19, 2019, CNN also posted on its Twitter page and published to

approximately 41 million followers its First Article (“Second Tweet”) with the following

false and defamatory caption: “Video shows a crowd of teenagers wearing ‘Make America

Great Again’ hats taunting a Native American elder after Friday’s Indigenous Peoples

March at the Lincoln Memorial cnn.it/2FM8De6.” A true and correct copy of the Second

Tweet is attached hereto as Exhibit Q.

       240.   On January 20, 2019, CNN also posted on its Twitter page and published to

approximately 41 million followers its Sixth Article (“Third Tweet”) with the following

false and defamatory caption: “Video shows a crowd of teenagers wearing ‘Make America

Great Again’ hats taunting a Native American elder after Friday’s Indigenous Peoples

March at the Lincoln Memorial https://CNN.it/2FRKItZ.” A true and correct copy of the

Third Tweet is attached hereto as Exhibit R.

       241.   In addition to the false and defamatory gists of the First Article, the Second

Tweet also independently communicated the false and defamatory gist that Nicholas

engaged in racist conduct and racist taunts.

       242.   On January 21, 2019, CNN also posted on its Twitter page and published to

approximately 41 million followers its Third Article (“Fourth Tweet”), thereby

communicating the false and defamatory gists of the Third Article. A true and correct copy

of the Fourth Tweet is attached hereto as Exhibit S.

       243.   These four tweets are collectively referred to herein as the “Tweets.”

       244.   The Tweets, Broadcasts, and Articles are collectively referred to herein as

the “False and Defamatory Accusations.”




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       245.   As the natural and foreseeable consequence of its actions, CNN knew and

intended that its False and Defamatory Accusations would be republished by others,

including media outlets and others on social media.

                          NICHOLAS IS A PRIVATE FIGURE

       246.   Nicholas is a private figure for the purposes of this defamation action,

having lived his entire life outside of the public eye.

       247.   Prior to the January 18 incident, Nicholas had no notoriety of any kind in

the community at large.

       248.   Nicholas did not engage the public’s attention to resolve any public issue

that could impact the community at large.

       249.   Nicholas made no public appearances prior to the false accusations against

him.

       250.   Nicholas has not inserted himself into the forefront of any public issue.

       251.   Nicholas’ limited public statements after the accusations against him were

reasonable, proportionate, and in direct response to the false accusations against him and

do not render Nicholas a limited purpose public figure.

              CNN PUBLISHED NEGLIGENTLY AND MALICIOUSLY

       252.   CNN published its False and Defamatory Accusations negligently and with

actual knowledge of falsity or a reckless disregard for the truth.

       253.   As one of the world’s leading news outlets, CNN knew but ignored the

importance of verifying damaging and, in this case, incendiary accusations against a

minor child prior to publication.

       254.   Instead, CNN recklessly rushed to publish its False and Defamatory

Accusations in order to advance its own political agenda against President Trump.

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       255.   In doing so, CNN lifted the incident from social media and placed it in the

mainstream media, giving its False and Defamatory Accusations credibility and

permanence.

       256.   CNN negligently published its False and Defamatory Accusations by

departing from the reasonable standard of care employed by journalists, including those

standards articulated by the Society of Professional Journalists’ Code of Ethics.

       257.   CNN’s collective conduct demonstrates a purposeful avoidance of the truth

and the publication of the False and Defamatory Accusations with actual knowledge of

falsity following its review of the complete video evidence and Nicholas’ statement no later

than January 20.

       258.   CNN negligently and recklessly published its False and Defamatory

Accusations by failing to conduct a reasonable investigation prior to publication.

       259.   CNN’s duty to investigate is heightened where, as here, the January 18

incident was not breaking news and involved a minor child.

       260. CNN negligently and recklessly published its False and Defamatory

Accusations by relying on unreliable and biased sources with questionable credibility.

       261.   CNN negligently and recklessly published its False and Defamatory

Accusations by failing to conduct a reasonable investigation, including by relying on

unreliable sources for its publications.

       262.   Indeed, CNN only interviewed Phillips and another participant in the

Indigenous People March, both of whom had biased pre-dispositions.

       263.   Phillips is wholly unreliable and lacks credibility as shown in part by his

false claim to have served in Vietnam while a member of the military, his status as a

professional activist with a known bias against President Trump and his supporters, his

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documented history of making similar false accusations, his use of the January 18 incident

to promote his own political and personal agenda, the contradictions in his story

established in his interviews, and the video evidence that totally refutes his story.

       264.   CNN had obvious reasons to doubt the veracity of its purported firsthand

sources such as Phillips and Taitano, including because they are manifestly biased and

because the short video evidence on which CNN relied did not show Nicholas or the

students uttering the chants or slurs they were accused of making or blocking Phillips’

egress.

       265.   CNN published its False and Defamatory Accusations in reliance upon those

it knew to have political and personal biases, including Deb Haaland who is a politician

with a demonstrable bias against President Trump.

       266.   CNN consciously elected to ignore this contrary information in favor of its

pre-conceived false narrative against President Trump and his supporters.

       267.   CNN negligently and recklessly failed to consult publicly available

information demonstrating its False and Defamatory Accusations to be false, including,

without limitation, other video evidence available online demonstrating that Phillips

specifically approached the students and specifically confronted Nicholas, and that

Nicholas did not engage in surrounding, mocking, taunting, blocking, or otherwise

physically intimidating Phillips or anyone else present.

       268.   Not only was CNN aware that the snippets of video it reviewed did not

support its False and Defamatory Accusations, but CNN was also aware that the video it

reviewed was woefully incomplete but published its accusations against Nicholas

nonetheless without any further investigation.



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       269.   In fact, upon information and belief, prior to publishing any of its False and

Defamatory Accusations, CNN knew that the Black Hebrew Israelites had hurled slurs

and taunts at the students, who responded with school cheers, and that Phillips had

confronted Nicholas and his classmates. But CNN wholly omitted and otherwise

contradicted this information.

       270.   CNN continued to publish its False and Defamatory Accusations with actual

knowledge of falsity, having reviewed video evidence and statements of Nicholas

Sandmann contradicting its False and Defamatory Accusations.

       271.   CNN negligently and recklessly failed to seek information from other

obvious sources who were present at the January 18 incident and would have

demonstrated its False and Defamatory Accusations to be false, including Nicholas, and

upon information and belief, his classmates, and/or the chaperones (who were only

consulted for stories beginning on January 21).

       272.   CNN negligently and recklessly published its False and Defamatory

Accusations despite internal inconsistencies in Phillips’ statements, as well as material

differences in his statements to other outlets published January 19 and 20.

       273.   CNN negligently and recklessly published its False and Defamatory

Accusations in derogation of accepted principles of journalistic ethics, including by failing

to use heightened sensitivity when dealing with juveniles.

       274.   CNN negligently and recklessly published its False and Defamatory

Accusations in derogation of accepted principles of journalistic ethics, including by failing

to verify each before publication.

       275.   CNN negligently and recklessly published its False and Defamatory

Accusations in derogation of accepted principles of journalistic ethics, including by failing

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to take special care not to misrepresent or oversimplify its coverage, and by failing to

provide any appropriate context to its False and Defamatory Accusations.

       276.   CNN negligently and recklessly published its False and Defamatory

Accusations in derogation of accepted principles of journalistic ethics, including by failing

to avoid stereotyping.

       277.   CNN negligently and recklessly published its False and Defamatory

Accusations in derogation of accepted principles of journalistic ethics, including by failing

to examine the way in which its own biases and agenda shaped its false reporting.

       278.   CNN negligently and recklessly published its False and Defamatory

Accusations in derogation of accepted principles of journalistic ethics, including by failing

to treat Nicholas as a human being deserving of respect.

       279.   CNN negligently and recklessly published its False and Defamatory

Accusations in derogation of accepted principles of journalistic ethics, including by

wrongfully placing the anti-Trump, anti-Catholic, and anti-pro-life agenda over the harm

its False and Defamatory Accusations caused to Nicholas.

       280. Upon information and belief, at the time of its initial reporting of and

concerning Nicholas, CNN did not know Nicholas’ age and did not make any reasonable

attempt to ascertain it despite the general knowledge that Nicholas was a high school

student and thus a minor.

       281.   Nicholas’ counsel propounded written demand for retraction of the False

and Defamatory Accusations upon CNN on February 16, 2019 and supplemented that

demand for retraction on February 19, 2019.

       282.   CNN’s actual malice is further evidenced by its failure to retract is False and

Defamatory Accusations.

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       283.    CNN published its False and Defamatory Accusations with common law

malice, including because it intended to harm Nicholas because he was a Catholic boy

wearing a MAGA hat, and consciously ignored the threats of harm that it knew would

inevitably ensue, in favor of its political agenda.

       284.    CNN published its False and Defamatory Accusations with common law

malice, demonstrated by its failure to retract its False and Defamatory Accusations

despite the harm and danger it knew would be inflicted upon Nicholas.

       285.    CNN published its False and Defamatory Accusations with common law

malice, including because it callously ignored the consequences of its actions upon a

minor child.

       286.    CNN’s common law malice is further evidenced by its failure to reprimand

Bakari Sellers for his cyber-assault of Nicholas on Twitter.

                                        DAMAGES

       287.    The publication of the False and Defamatory Accusations directly and

proximately caused substantial and permanent damage to Nicholas.

       288. The False and Defamatory Accusations were republished by third-parties

and members of the mainstream and social media mob, which was reasonably

foreseeable.

       289.    The False and Defamatory Accusations against Nicholas are defamatory per

se, as they are libelous on their face without resort to additional facts, and as clearly

demonstrated here, Nicholas was subjected to public hatred, contempt, scorn, obloquy,

and shame.

       290. As a direct and proximate result of the False and Defamatory Accusations,

Nicholas suffered permanent harm to his reputation.

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       291.   As a direct and proximate result of the False and Defamatory Accusations

Nicholas suffered severe emotional and mental distress.

       292.    As a direct and proximate result of the False and Defamatory Accusations

Nicholas is forced to live his life in a constant state of concern over his safety and the

safety of his family.

       293.   CNN published its False and Defamatory Accusations with actual malice

and common law malice, thereby entitling Nicholas to an award of punitive damages.

       294.   CNN’s conduct was outrageous and willful, demonstrating that entire want

of care that raises a conscious indifference to consequences.

       295.    Nicholas is entitled to an award of punitive damages to punish CNN and to

deter it from repeating such egregiously unlawful misconduct in the future.

       WHEREFORE, Nicholas respectfully prays:

       (a)    That judgment be entered against CNN for substantial compensatory

damages in an amount not less than Seventy-Five Million Dollars ($75,000,000.00);

       (b)    That judgment be entered against CNN for punitive damages in an amount

not less than Two Hundred Million Dollars ($200,000,000.00);

       (c)    That Nicholas recover his reasonable attorneys’ fees and expenses from

CNN;

       (d)    That all costs of this action be taxed to CNN; and

       (e)    That the Court grant all such other and further relief that the Court deems

just and proper, including equitable relief.




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       Respectfully submitted this 12th day of March, 2019.

 L. LIN WOOD, P.C.                                Hemmer DeFrank Wessels PLLC

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